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ADRIAN DENISE SMITH May 18, 2017

SMITH vs BANK OF AMERICA

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TLLINOIS
EASTERN DIVISION
ADRIAN SMITH, on behalf }
of herself and all others )
similarly situated, )
Plaintiff, ) Case No.
Vv. ) 1:17-cv-00286-ARW-SEC
BANK OF AMERICA, N.A., BANK )
OF AMERICA CORPORATION, and )
ADECCO USA, INC., )
‘Defendants. )

The deposition of ADRIAN DENISE SMITH,
called for examination, taken pursuant to the
Federal Rules of Civil Procedure of the United
States District Courts pertaining to the taking of
depositions, taken before CHERYL E. NICHOLSON, CSR
No. 084-001932, a Notary Public within and for the
County of DuPage, State of Illinois, anda
Certified Shorthand Reporter of said state, at
Stephan Zouras, LUP, 205 North Michigan Avenue,
Suite 2560, Chicago, Illinois 60601, on Thursday,

the 18th day of May, A.D. 2017, at 1:25 p.m. CDT.

EXHIBIT

B ESQUIRE I, Bani 800.211.DEPO (3376)

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ADRIAN DENISE SMITH May 18, 2017

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PRESENT :

T.
F.

T.
BF.

MR.

T.
F.

STEPHAN ZOURAS, LUP
(205 North Michigan Avenue, Suite 2560
Chicago, Illinois 60601) by:

MS. CATHERINE T. MITCHELL

ATTORNEY AT LAW

312-233-1550
312-233-1560

emitchell@stephanzouras.com

appeared on behalf of the Plaintiff,
Adrian Smith; ,

MCGUIREWOODS LLP

(77 West Wacker Drive, Suite 4100
Chicago, Tllinois 60601-1818) by:
MR. BRIAN E. SPANG .
COUNSEL

312-750-3532
312-698-4562

bspang@émcgquirewoods.com

“appeared on behalf of Defendants Bank of
America, N.A., and Bank of America
Corporation;

SMITH, GAMBRELL & RUSSELL, LLP
(50 North Laura Street, Suite 2600
Jacksonville, Florida 32202) by:

STEVEN E. BRUST

MANAGING PARTNER

904-598-6104
904-598-6204

sebrust@sgrlaw.com

appeared on behalf of Defendant Adecco
USA, Ine.

REPORTED BY: CHERYL E. NICHOLSON, C.S.R.

CERTIFICATE NO. 084-001932.

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(WHEREUPON, the witness was duly
sworn or affirmed.)
THE WITNESS: TI do.
ADRIAN DENTSE SMITH,
Called as a witness herein, having been first duly
sworn or affirmed, was examined and testified as
follows:
DIRECT EXAMINATION

BY MR. BRUST:

Q. Good afternoon, Ms. Smith.
A. Hi.
Q. We just met a minute ago. My name is

Steve Brust, and I'm with the law firm of Smith,
Gambrell & Russell, and I represent the defendant
Adecco USA, Inc. in this proceeding.

Would you tell us your full name for the

record, please.

A. It's Adrian Smith.
Q. Where do you reside, Ms. Smith?
A. 1618 North Central Avenue, Chicago. Do

you need the Zip code?

QO. No. That's enough.
A. Okay.
Q. Have you ever had your deposition taken

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that someone did this, so I'm absolutely not saying
that, and I will not say that. The only thing that
I can continue to tell you is that I have no memory

of doing it.

Q. But you might have?
A. Sure. It's possible that I might have.
I just have no memory of ~-- of typing in a

Signature. And it just would be unfair of me to
say, "Oops. You did it," or, "Someone else did
it," so I'm not doing that.

MR. BRUST: Those are all the questions I
have. .

MR. SPANG: Can I ask a question?.-
MS. MITCHELL: Sure.
CROSS - EXAMINATION

BY MR. SPANG:

Q. Ms. Smith, my name is Brian Spang. I'm

one of the lawyers representing the Bank of

America.
A. Oh. Hello.
Q. Just -~ just a couple questions,

hopefully, at most.
What's your understanding of the

relationship between Adecco and Bank of America?

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A. What's my understanding of the

relationship? Um, I would be speculating that.
So, what do I think the relationship is? Is that
what you're asking me?
Q. Sure. What do you think the
relationship is? .
JA; Um, that Bank of America is a client of
Adecco.
MR. SPANG: That's my only question.
MS. MITCHELL: I have no further questions.
MR. BRUST: Let me go back to a subject. I'm
sorry.
Would you mark this as our next exhibit,
please. .
(WHEREUPON, a certain document was
marked Smith Deposition Exhibit
No. 7, for identification, as of
5-18-17.)
THE WITNESS: Thank you.
DIRECT EXAMINATION - {(Resumed)

BY MR. BRUST:

Q. Do you recognize Exhibit 7, Ms. Smith?
A. Yes, I remember seeing this.
Q. Are these your answers to the

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